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 8                 IN THE UNITED STATES DISTRICT COURT FOR THE
 9                         EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,      )            1:06CR00299 AWI
                                    )
12                  Plaintiff,      )
                                    )
13        v.                        )            AMENDED PRELIMINARY ORDER OF
                                    )            FORFEITURE
14                                  )
                                    )
15   KEITH DAVID GOODWIN,           )
      aka Mark Greenburg,           )
16                                  )
                    Defendant.      )
17                                  )
     _______________________________)
18
19           Based upon the guilty verdict entered March 4, 2008, against
20   defendant     Keith    David     Goodwin    and   defendant’s      subsequent
21   stipulation to the forfeiture of $589.02 in United States currency
22   as proceeds of his crimes of conviction, it is hereby
23           ORDERED, ADJUDGED AND DECREED as follows:
24           1.   Pursuant to 18 U.S.C. § 982(a)(2)(B), defendant Keith
25   David    Goodwin’s    interest   in   the   following   property    shall   be
26   condemned and forfeited to the United States of America, to be
27   disposed of according to law:
28                a)   Approximately $589.02 in U.S. Currency.
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 1        2.      The     Courts   finds    that   the   above-listed     property
 2   constitutes or was derived from proceeds the defendant obtained,
 3   directly or indirectly, as the result of violations of Title 18,
 4   United States Code, Sections 1028, 1029, or conspiracy to commit
 5   such offenses.
 6        3.      Pursuant to Rule 32.2(b), the Attorney General (or a
 7   designee) shall be authorized to seize the above-listed property.
 8   The aforementioned property shall be seized and held by the United
 9   States Marshals Service in its secure custody and control.
10        4.      The United States may, to the extent practicable, provide
11   direct written notice to any person known to have alleged an
12   interest in the property that is the subject of the Order of
13   Forfeiture.
14        5.      If a petition is timely filed, upon adjudication of all
15   third-party interests, if any, this Court will enter a Final Order
16   of Forfeiture pursuant to 18 U.S.C. § 982(a)(2)(B), in which all
17   interests will be addressed.
18
19   IT IS SO ORDERED.
20   Dated:    April 1, 2008                     /s/ Anthony W. Ishii
     0m8i78                                UNITED STATES DISTRICT JUDGE
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